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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                                    District of New Jersey
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     In re:
                                                             Chapter 11
     BLOCKFI INC., et al.,
                                                             Case No. 22-19361 (MBK)
               Debtors. 1                                    (Jointly Administered)


                             BRIDGE ORDER EXTENDING THE
                            DEBTORS’ EXCLUSIVE PERIODS TO
                   FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES
              THEREOF PURSUANT TO SECTION 1121 OF THE BANKRUPTCY CODE




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      The relief set forth on the following pages, numbered three (3) through four (4) is

 ORDERED.
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 Debtors:               BLOCKFI INC., et al.
 Case No.               22-19361 (MBK)
 Caption of Order:      BRIDGE ORDER EXTENDING THE DEBTORS’ EXCLUSIVE
                        PERIODS TO FILE A CHAPTER 11 PLAN AND SOLICIT
                        ACCEPTANCES THEREOF PURSUANT TO SECTION 1121 OF THE
                        BANKRUPTCY CODE

        THIS MATTER having been opened to the Court by Cole Schotz P.C., Kirkland & Ellis

 LLP, Kirkland & Ellis International LLP, and Haynes and Boone, LLP, attorneys for BlockFi, Inc.,

 et al., on behalf of the above-captioned Chapter 11 debtors and debtors-in-possession (collectively,

 the “Debtors”), upon a motion for entry of an Order extending the exclusivity period within which

 the Debtors may file a chapter 11 plan pursuant to 28 U.S.C. § 1121 (the “Motion”); and the current

 exclusive period within which the Debtors may file a chapter 11 plan expires on March 28, 2023;

 and good cause appearing for the entry of this order (the “Bridge Order”);

                It is ORDERED as follows:

        1.      The Motion be, and hereby is, GRANTED on a temporary basis pending final

 approval of the Motion by this Court.

        2.      The exclusivity period set forth in 28 U.S.C. § 1121 is hereby extended pursuant to

 Rule 9006 of the Federal Rules of Bankruptcy Procedure through and including the date by which

 the Court enters a final order with respect to the Motion.

        3.      This Bridge Order is effective immediately upon entry.

        4.      The Debtors’ counsel shall serve a true copy of this Bridge Order on all interested

 parties within seven (7) days of the date hereof.

        5.      All parties in interest reserve any and all of their rights with respect to the final

 determination on the Motion. This Bridge Order is without prejudice to the Debtors’ right to seek

 further extensions of the exclusive periods to file and solicit a chapter 11 plan.

        6.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Bridge Order.
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 (Page | 4)
 Debtors:              BLOCKFI INC., et al.
 Case No.              22-19361 (MBK)
 Caption of Order:     BRIDGE ORDER EXTENDING THE DEBTORS’ EXCLUSIVE
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                       ACCEPTANCES THEREOF PURSUANT TO SECTION 1121 OF THE
                       BANKRUPTCY CODE

        7.      This Court shall retain jurisdiction with respect to all matters arising from or

 relating to the implementation of this Bridge Order.
